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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
                                                                          6
                                                                                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                          8
                                                                          9   ORACLE AMERICA, INC.,
                                                                         10                  Plaintiff,                                    No. C 10-03561 WHA
                                                                         11
United States District Court




                                                                                v.
                               For the Northern District of California




                                                                         12   GOOGLE INC.,                                                 ORDER SETTING
                                                                         13                                                                HEARING ON PLAINTIFF’S
                                                                                             Defendant.                                    DISCOVERY DISPUTE
                                                                         14                                                 /

                                                                         15          The parties shall meet-and-confer in the Court’s jury room starting from 8:00 A.M. AND
                                                                         16   ENDING 11:00 A.M. ON WEDNESDAY, FEBRUARY 9, 2011.          At 11:00 a.m., the Court shall hold a
                                                                         17   hearing to resolve any and all remaining discovery issue(s). Please note that only those lawyers
                                                                         18   who personally participate in the meet-and-confer in the Court’s jury room may be heard at the
                                                                         19   discovery hearing.
                                                                         20          Defendant may file a responsive letter brief, not to exceed three pages, by NOON ON
                                                                         21   FEBRUARY 4, 2011.
                                                                         22
                                                                         23          IT IS SO ORDERED.
                                                                         24
                                                                         25   Dated: February 2, 2011.
                                                                         26                                                      WILLIAM ALSUP
                                                                                                                                 UNITED STATES DISTRICT JUDGE
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